 Case 4:24-cv-00950-O        Document 7      Filed 10/14/24      Page 1 of 25      PageID 60



                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               FT. WORTH DIVISION


ASBURY AUTOMOTIVE GROUP, INC.,
et al.,

              Plaintiffs,

       v.                                           Civil Action No. 4:24-cv-00950-O

THE FEDERAL TRADE COMMISSION,
et al.,

              Defendants.



APPENDIX TO OPPOSED EXPEDITED MOTION FOR PRELIMINARY INJUNCTION
   STAYING FTC PROCEEDING PENDING ADJUDICATION OF THE ASBURY
                PLAINTIFFS’ CONSTITUTIONAL CLAIMS

       Plaintiffs Asbury Automotive Group, Inc., et al. (the “Asbury Plaintiffs”) submit this

Appendix in Support of its Opposed Expedited Motion for Preliminary Injunction Staying FTC

Proceeding Pending Adjudication of the Asbury Plaintiffs’ Constitutional Claims.

                                   Document                                         Page(s)

Emails between counsel for the Asbury Plaintiffs and Defendants’ counsel from the App.1-
DOJ, dated October 11, 2024, with attached Asbury Plaintiffs’ Opposed Expedited App.9
Motion for Preliminary Injunction Staying FTC Proceeding Pending Adjudication of
the Asbury Plaintiffs’ Constitutional Claims

Email from Complaint Counsel (FTC) with attached copy of Complaint Counsel’s App.10-
Preliminary Proposed Fact Witness List, dated October 11, 2024               App.23




                                                                                              1
Case 4:24-cv-00950-O      Document 7      Filed 10/14/24       Page 2 of 25     PageID 61




Dated: October 14, 2024                      Respectfully submitted,


                                             FOLEY & LARDNER LLP

Todd A. Murray                               By: /s/ Edward D. (“Ed”) Burbach
(Texas State Bar No. 00794350)
2021 McKinney Avenue, Suite 1600             Edward D. (“Ed”) Burbach*
Dallas, Texas 75201                          (Texas State Bar No. 03355250)
Tel: 214.999.3000                            John Sepehri
Fax: 214.999.4667                            (Texas State Bar No. 00797408)
Email: tmurray@foley.com                     Robert F. Johnson III
                                             (Texas State Bar No. 10786400)
Michael J. Lockerby^                         Brandon M. Livengood^
Megan Chester^                               (Texas State Bar No. 24128022)
Washington Harbour                           600 Congress Avenue, Suite 2900
3000 K Street N.W., Suite 600                Austin, Texas 78701
Washington, D.C. 20007                       Tel: 512.542.7000
Tel.: 202.672.5300                           Fax: 512.542.7100
Fax: 202.672.5399                            Email: eburbach@foley.com
Email: mlockerby@foley.com                   Email: jsepehri@foley.com
Email: mxchester@foley.com                   Email: rjohnson@foley.com
                                             Email: brandon.livengood@foley.com
                                             _______________________
                                             *Attorney in charge
                                             ^ Pro Hac Vice application forthcoming

                           Counsel for the Asbury Plaintiffs




                                                                                        2
     Case 4:24-cv-00950-O                      Document 7              Filed 10/14/24       Page 3 of 25          PageID 62



 Burbach, Ed

 Subject:                                 FW: Asbury et al. v. FTC et al: Expedited Motion for Preliminary Injunction



From: Belfer, Isaac C. <lsaac.C.Belfer @usdoj.gov>
Sent: Friday, October 11, 2024 5:04:43 PM
To: Burbach, Ed <eburbach@foley.com >; Brooks, Jamie <jbrooks4@ftc.gov>; Sepehri, John <jsepehri@foley.com >
Cc: Cowan, Zachary L. <Zachary.L.Cowan@usdoj.gov>; Hoffman, Matthew <mhoffman@ftc.gov>; Murray, Todd A.
<tmurray@foley.com >; Salinas, Veronica <vsa linas@foley.com>; Lockerby, Michael J. <M Lockerby@fotey.com >
Subject: RE: Asbury et al. v. FTC et al: Expedited Motion for Preliminary Injunction

** EXTERNAL EMAIL MESSAGE **
Thanks, Ed. As you know, Monday is a federal holiday, so it will not be possible for me to get back to you then. We will
do our best to get back to you by the end of the day on Tuesday.

Isaac C. Belfer
Trial Attorney
Consumer Protection Branch
U.S. Department of Justice
202-305-7134
lsaac.C.Belfer@usdoj.gov




From: Burbach, Ed <ebu rbach@foley.com >
Sent: Friday, October 11, 2024 5:39 PM
To: Belfer, Isaac C. <lsaac.C.Be lfer@usdoj.gov>; Brooks, Jamie <jbrooks4@ftc.gov>; Sepehri, John <jsepehri@fo ley.com>
Cc: Cowan, Zachary L. <Zachary.L.Cowan@usdo j.gov>; Hoffman, Matthew <mhoffman@ftc.gov>; Murray, Todd A.
<tmurray@foley.com >; Salinas, Veronica <vsatinas@foley.com>; Lockerby, Michael J.<MLockerby@foley.com>;
Burbach, Ed <ebu rbach@fotey.co m>
Subject: [EXTERNAL] RE: Asbury et al. v. FTC et al: Expedited Motion for Preliminary Injunction

Isaac,
Further to the below, Jamie Brooks, the FTC's lead counsel in the administrative action, just emailed to us the attached
Preliminary Proposed Fact Witness List in the administrative matter.
We are reviewing, but it appears to list hundreds of thousands of potential witnesses (see e.g. items 26-28).
Another reason why our motion should proceed expeditiously ....

We look forward to confirmation of your opposition or non opposition to our motion by noon CT, Monday, October 14.



Ed Burbach
Partner
Chair, Government Solutions Practice Group
Co-Chair, State Attorneys General Practice
Austin Office Managing Partner
Foley & Lardner LLP
600 Congress Avenue, Suite 2900 , Austin, TX 78701-3056
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     Case 4:24-cv-00950-O                     Document 7               Filed 10/14/24   Page 4 of 25    PageID 63


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From: Burbach, Ed <eburbach@foley.com>
Sent: Friday, October 11, 2024 3:25 PM
To: Belter, Isaac C. <lsaac.C.Belfer@usdoj.gov>; Brooks, Jamie <jbrooks4@ftc.gov>; Sepehri, John <jsepehri@foley.com>
Cc: Cowan, Zachary L. <Zachary.L.Cowan@usdoj.gov>; Hoffman, Matthew <mhoffman@ftc.gov>; Murray, Todd A.
<tmurray@foley.com >; Salinas, Veronica <vsalinas@foley.com>; Burbach, Ed <eburbach@foley.com>; Lockerby, Michael
J.< MLockerby@foley.com>
Subject: RE: Asbury et al. v. FTC et al: Expedited Motion for Preliminary Injunction

Isaac,
Thanks for your email. Very surprising and unfortunate that you are no longer available to speak this afternoon and
advise whether your clients oppose our clients' motion to enjoin the FTC's adjudicatory process as unconstitutional.

We cannot think of any reason that your clients would not oppose same; however, we look forward to learning if they
wish to stipulate to the unconstitutionality of the FTC administrative proceeding and requested relief enjoining further
action in the FTC administrative proceeding. If so it would save everyone a lot of time and expense. Attached is the very
simple 1 page motion.

Please provide us with confirmation of your opposition or non opposition by noon CT, Monday, October 14. Failing
same we will file noting your clients opposition.

P.S. With regard to the need to proceed with the motion, is the "here-and-now" irreparable injury that the Asbury
Plaintiffs suffer from having to participate in a constitutionally infirm agency proceeding. Axon. The harm to the Asbury
Plaintiffs is further compounded by the unspecified, unsupported, and inflammatory charges in the FTC Complaint and
press. Also, although it may be true that the Commission set the hearing on April 16, there are numerous active
deadlines exacerbated by the FTC's listing of over 700 persons with knowledge of relevant facts and refusal to provide
the identify of the consumers it claims were harmed, its "survey" and its disparate impact "analysis" referred to in its
Complaint and press release. In short, time is of the essence.

P.P.S. We are still available to discuss today (or any time before noon CT Monday).

Ed Burbach
Partner
Chair, Government Solutions Practice Group
Co-Chair, State Attorneys General Practice
Austin Office Managing Partner
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       Case 4:24-cv-00950-O                 Document 7     Filed 10/14/24           Page 5 of 25          PageID 64


 From: Belfer, Isaac C. <lsaac.C.Belfer@usdoj.gov>
 Sent: Friday, October 11, 2024 2:28 PM
 To: Burbach, Ed <eburbach@foley .com >; Brooks, Jamie <jbrooks4@ftc.gov>; Sepehri, John <jsepeh ri @foley.com>
 Cc: Cowan, Zachary L. <Zachary.L.Cowan@usdoj .gov>; Hoffman, Matthew <mhoffman@ftc.gov>; Murray, Todd A.
 <tmurray@foley.com >; Salinas, Veronica <vsalinas@foley.com >
 Subject: RE: Asbury et al. v. FTC et al: Expedited Motion for Preliminary Injunction

 ** EXTERNAL EMAIL MESSAGE**
 Ed,

After further consultation with the agency, we do not think it makes sense to speak today. The agency needs a bit more
time to consider its position on Plaintiffs' anticipated preliminary injunction motion, and we can let you know our
position next week.

We would note that we only learned of Plaintiffs' anticipated motion late last night. There also does not appear to be
any need for Plaintiffs to file their anticipated motion immediately, since the FTC evidentiary hearing is not scheduled to
occur until April 2025. Moreover, our understanding is that Plaintiffs do not have any discovery deadlines in the FTC
proceeding until the week of October 21. Again, though, we are actively considering Plaintiffs' anticipated motion and
will let you know our position next week.

Thanks,
Isaac

Isaac C. Belter
Trial Attorney
Consumer Protection Branch
U.S. Department of Justice
202-305-7134
lsaac.C.Belfer @usdoj.gov




From: Burbach, Ed <eburbach@foley.com >
Sent: Friday, October 11, 2024 1:42 PM
To: Belfer, Isaac C. <lsaac.C.Belfer @usdoj .gov>; Brooks, Jamie <jbrooks4@ftc.gov>; Sepehri, John <jsepehri@foley.com>
Cc: Cowan, Zachary L. <Zachary.l.Cowan@usdoj.gov>; Hoffman, Matthew <mhoffman@ftc.gov>; Murray, Todd A.
<tmurray@foley.com >; Burbach, Ed <eburbach@foley.com >; Salinas, Veronica <vsa linas@foley.com >
Subject: [EXTERNAL] RE: Asbury et al. v. FTC et al: Expedited Motion for Preliminary Injunction

Isaac,
Following up on the below.
I am still available this afternoon any time other than between 2:30 and 3:30 CT.
Let me know what time works for you and we'll circulate a Teams invite.


Ed Burbach
Partner
Chair, Government Solutions Practice Group
Co-Chair, State Attorneys General Practice
Austin Office Managing Partner
Foley & Lardner LLP
600 Congress Avenue, Suite 2900, Austin, TX 78701-3056


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     Case 4:24-cv-00950-O                     Document 7              Filed 10/14/24   Page 6 of 25     PageID 65


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From: Burbach, Ed <eburbach@foley.com >
Sent: Friday, October 11, 2024 10:38 AM
To: Belfer, Isaac C. <lsaac.C.Belfer@usdoj.gov>; Brooks, Jamie <jbrooks4@ftc.gov>; Sepehri, John <jsepehri@foley.com >
Cc: Cowan, Zachary L. <Zachary.L.Cowan@usdoj.gov>; Hoffman, Matthew <mhoffman@ftc.gov>; Murray, Todd A.
<tmurray@foley.com >; Burbach, Ed <eburbach@fo ley.com>
Subject: RE: Asbury et al. v. FTC et al: Expedited Motion for Preliminary Injunction

Of course.
I will be available this afternoon any time other than between 2:30 and 3:30 CT.
Let me know what time works for you and we'll circulate a Teams invite.

Ed Burbach
Partner
Chair, Government Solutions Practice Group
Co-Chair, State Attorneys General Practice
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From: Belfer, Isaac C. <lsaac.C.Belfer @usdoj.gov>
Sent: Friday, October 11, 2024 10:17 AM
To: Burbach, Ed <eburbach@foley.com >; Brooks, Jamie <jbrooks4@ftc.gov>; Sepehri, John <jsepehri@foley.com>
Cc: Cowan, Zachary L. <Zachary.l.Cowan@usdoj.gov>; Hoffman, Matthew <mhoffman@ftc.gov>; Murray, Todd A.
<tmurray@foley.com >
Subject: RE: Asbury et al. v. FTC et al: Expedited Motion for Preliminary Injunction

** EXTERNAL EMAIL MESSAGE**
Hi Ed,

Thanks for reaching out. Before providing our position on your preliminary injunction motion, we think it would be
helpful for all of us to get on the phone. Would you please let us know your availability for a call this afternoon?

Thanks,
Isaac

Isaac C. Belfer

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     Case 4:24-cv-00950-O                     Document 7               Filed 10/14/24   Page 7 of 25     PageID 66


Trial Attorney
Consumer Protection Branch
U.S. Department of Justice
202-305-7134
lsaac.C.Belfer@usdoi.gov




From: Burbach, Ed <eburbach@foley.com>
Sent: Thursday, October 10, 2024 8:59 PM
To: Brooks, Jamie <ibrooks4@ftc.gov>; Sepehri, John <isepehri@foley.co m>
Cc: Belter, Isaac C. <lsaac.C.Belfer@usdoj.gov>; Cowan, Zachary L. <Zachary.L.Cowan@usdoj.gov>; Hoffman, Matthew
<mhoffman@ftc.gov>; Burbach, Ed <eburbach@foley.com>; Murray, Todd A.<tmurray@foley.com >
Subject: [EXTERNAL] RE: Asbury et al. v. FTC et al : Expedited Motion for Preliminary Injunction

Thanks Jamie.

Isaac and Zach,
Nice to meet you.
Please advise if your clients are opposed to an Expedited Motion for Preliminary Injunction. We still believe they are
(unless they want to agree to dismiss their administrative proceeding © ).

If we do not hear differently from you by Noon ET tomorrow we will of course file the Motion as opposed.

Thanks!

Ed Burbach
Partner
Chair, Government Solutions Practice Group
Co-Chair, State Attorneys General Practice
Austin Office Managing Partner
Foley & Lardner LLP
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From: Brooks, Jamie <jbrooks4@ftc.gov>
Sent: Thursday, October 10, 2024 7:50 PM
To: Burbach, Ed <eburbach@foley.com >; Sepehri, John <jsepehri@foley.com >
Cc: lsaac.C.Be lfer@usdoi .gov; Zachary.L.Cowan@usdoj.gov; Hoffman, Matthew <mhoffman@ftc.gov>
Subject: RE: Asbury et al. v. FTC et al: Expedited Motion for Preliminary Injunction

** EXTERNAL EMAIL MESSAGE **
Hi Ed,




                                                                        5




                                                                                                                 App.5
    Case 4:24-cv-00950-O                      Document 7              Filed 10/14/24   Page 8 of 25      PageID 67


I am putting you in touch with Isaac Belfer and Zack Cowan at DOJ, who are counsel on the federal action. We will let
them respond regarding whether they oppose the motion. Complaint counsel has not made any representations on that
issue.

Best,

Jamie

Jamie D . Brooks
Division of Financial Practices
Federal Trade Commission
600 Pennsylvania Avenue, NW
Mail Drop CC-10232
Washington, DC 20580
Mobile: (202) 621-3913
Jbrooks4@ftc.gov
She/ her


From: Burbach, Ed <eburbach@foley.com >
Sent: Thursday, October 10, 2024 5:59 PM
To: Brooks, Jamie <jbrooks4@ftc.gov>
Cc: Burbach, Ed <eburbach@foley.com >; Sepehri, John <jsepehri@foley.com>
Subject: Asbury et al. v. FTC et al : Expedited Motion for Preliminary Injunction

Jamie,
Per my voice mail, thanks for advising that for now we can communicate with you regarding the lawsuit we filed in Ft.
Worth. As we discussed we will be filing an Expedited Motion for Preliminary Injunction. We will mark the defendants
as opposed on the certificate of conference (unless y'all change your mind and decide that you will not oppose!).

Let me know if you have any questions.

Ed Burbach
Partner
Chair, Government Solutions Practice Group
Co-Chair, State Attorneys General Practice
Austin Office Managing Partner
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   Case 4:24-cv-00950-O               Document 7          Filed 10/14/24          Page 9 of 25          PageID 68


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signature, nor is it intended to reflect an intention to make an agreement by electronic means.




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                                                                                                                App.7
Case 4:24-cv-00950-O                Document 7             Filed 10/14/24              Page 10 of 25             PageID 69




                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS



        ASBURY AUTOMOTIVE GROUP, INC.,
        eta!.,

                                Plaintiffs                        No. 4:24-cv-00950-O
                        V.

        THE FEDERAL TRADE COMMISSION,
        eta!.,.

                                Defendants.




         ASBURY PLAINTIFFS' OPPOSED EXPEDITED MOTION FOR PRELIMINARY
          INJUNCTION STAYING FTC PROCEEDING PENDING ADJUDICATION OF
                 THE ASBURY PLAINTIFFS' CON TITUTIONAL CLAIMS


             Pursuant to Fed. R. Civ. P. 65(a) and the Court' s inherent authority, and for the reasons set

    forth in the accompanying brief, the Asbury Plaintiffs 1 hereby request that the Court- following

    expedited briefing and expedited argument or evidentiary hearing-----enjoin the Federal Trade

    Commission (the "FTC") from taking further action in the FTC administrative proceeding In the

    Matter ofAsbury Automotive Group, Inc. et. al., FTC Docket No. D-9436 (the "FTC Proceeding"),

    pending resolution of their constitutional claims in this Court.




    1
     The term "Asbury Plaintiffs" refers collectively to Plaintiffs Asbury Automotive Group, Inc., Asbury Ft. Worth Ford,
    LLC, also d/b/a David McDavid Ford Ft. Worth, McDavid Frisco - Hon, LLC, also d/b/a David McDavid Honda of
    Frisco, McDavid Irving - Hon, LLC, also d/b/a David Mc David Honda of Irving, and Ali Ben Ii.



    4868-3549-3871.1




                                                                                                                            App.8
Case 4:24-cv-00950-O           Document 7          Filed 10/14/24         Page 11 of 25          PageID 70




      Dated: October 10 2024                           Respectfully submitted,


                                                       FOLEY & LARDNER LLP

      Todd A. Murray                                   By: Isl Edward 0. ( ' Ed ) Burbach
      (Texas State Bar No. 00794350)
      2021 McKinney Avenue, Suite 1600                 Edward D. ("Ed") Burbach*
      Dallas, Texas 75201                              (Texas State Bar No. 03355250)
      Tel: 214.999.3000                                John Sepehri
      Fax: 214.999.4667                                (Texas State Bar No. 00797408)
      Email: tmurray@fo ley.com                        Robert F. Johnson III
                                                       (Texas State Bar No. 10786400)
      Michael J. Lockerby/\                            Brandon M. Livengood/\
      Megan Chester/\                                  (Texas State Bar No. 24128022)
      Washington Harbour                               600 Congress A venue, Suite 2900
      3000 K Street N.W., Suite 600                    Austin, Texas 78701
      Washington, D.C. 20007                           Tel: 512.542.7000
      Tel.: 202.672.5300                               Fax: 512.542.7100
      Fax: 202.672.5399                                Email: eburbach@fo ley.com
      Email: mlockerby@foley.com                       Email: jsepehri@ fol.ey.com
      Email: mxchester@.foley .com                     Email: rjohnson@fo ley.com
                                                       Email: brandon.livengood@foley.com


                                                       *Attorney in charge
                                                       I\ Pro Hae Vice application forthcoming




                                      Counsel for the Asbury Plaintiffs




    4868-3549-3871.1




                                                                                                     App.9
    Case 4:24-cv-00950-O             Document 7          Filed 10/14/24            Page 12 of 25         PageID 71



Burbach, Ed

From:                             Brooks, Jamie <jbrooks4@ftc.gov>
Sent:                             Friday, October 11, 2024 4:03 PM
To:                               Chester, Megan; Burbach, Ed; Sepehri, John; Lockerby, Michael J.; Johnson, Rob
Cc:                               Doty, James; Dwyer, Daniel; Abutaleb, Sarah; Alpert, Joseph
Subject:                          D-9436 - Complaint Counsel's Preliminary Proposed Fact Witness List
Attachments:                      2024.10.11 CC Preliminary Witness List.pdf



** EXTERNAL EMAIL MESSAGE**
Hi Ed and Megan,

Please find attached Complaint Counsel's Preliminary Proposed Fact Witness List.

Best,

Jamie

Jamie D. Brooks
Division of Financial Practices
Federal Trade Commission
600 Pennsylvania Avenue, NW
Mail Drop CC-10232
Washington, DC 20580
Mobile: (202) 621-3913
Jbrooks4@ftc.gm,
She/ her




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                                                                                                               App.10
Case 4:24-cv-00950-O           Document 7           Filed 10/14/24        Page 13 of 25         PageID 72




                               UNITED STATES OF AMERICA
                         BEFORE THE FEDERAL TRADE COMMISSION
                               OFFICE OF ADMINISTRATIVE LAW JUDGES

                                                         )
     In the Matter of                                    )
                                                         )
     Asbury Automotive Group, Inc.,                      )
     a corporation,                                      )
                                                         )
     Asbury Ft. Worth Ford, LLC, a limited liability     )
     Company, also d/b/a David McDavid Ford              )
     Ft. Worth,                                          )
                                                         )
     McDavid Frisco - Hon, LLC, a limited liability      )
     Company, also d/b/a David McDavid Honda of          )       Docket No. 9436
     Frisco,                                             )
                                                         )
     McDavid Irving - Hon, LLC, a limited liability      )
     Company, also d/b/a David McDavid Honda of          )
     Irving, and                                         )
                                                         )
     Ali Benli, individually and as an officer of        )
     Asbury Ft. Worth Ford, LLC,                         )
     McDavid Frisco - Hon, LLC, and                      )
     McDavid Irving - Hon, LLC,                          )
                                                         )
     Respondents.                                        )

        COMPLAINT COUNSEL'S PRELIMINARY PROPOSED FACT WITNESS LIST

           Pursuant to the Court's Scheduling Order, dated September 13, 2024, Complaint Counsel

    hereby provides its Preliminary Proposed Fact Witness List to Respondents Asbury Automotive

    Group, Inc., Asbury Ft. Worth Ford LLC, also d/b/a David McDavid Ford Ft. Worth, McDavid

    Frisco - Hon, LLC, also d/b/a David McDavid Honda of Frisco, McDavid Irving- Hon, LLC,

    also d/b/a David McDavid Honda of Irving, and Ali Benli ("Respondents"). This list identifies

    the fact witnesses who may testify for Complaint Counsel at the hearing in this action by




                                                                                                    App.11
Case 4:24-cv-00950-O                  Document 7              Filed 10/14/24                Page 14 of 25   PageID 73




     deposition and/or investigational hearing transcript, declaration, or orally by live witness.' It

     does not identify expert or rebuttal witnesses, whom Complaint Counsel will identify at a later

     date in compliance with the Scheduling Order.

                The information disclosed herein, including the employment status and job titles for

    Respondents' employees, is based upon information reasonably available to Complaint Counsel

    at present. Discovery is ongoing and likely will have an impact on Complaint Counsel's final

    proposed witness list. Subject to the limitations in the Scheduling Order entered in this action,

    Complaint Counsel reserves the right:

           A. To present testimony by deposition and/or investigational hearing transcript, declaration,

                or orally by live witness, from any other person that Respondent identifies as a potential

               witness in this action;

           B. To present testimony by deposition and/or investigational hearing transcript, declaration,

               or orally by live witness, from any witnesses to rebut the testimony of witnesses

               proffered by Respondents;

           C. Not to present testimony by deposition and/or investigational hearing transcript,

               declaration, or orally by live witness, from any of the witnesses listed below;

           D. To supplement this Preliminary Witness List if additional information becomes available

               through discovery or otherwise, and pursuant to the Scheduling Order;

           E. To present testimony by deposition transcript, declaration, or orally by live witness, from

               the custodian of records from which documents or records have been or will be obtained


    1
        This list contemplates later refinement, in accordance with the Scheduling Order.

                                                         Page 2 of 13




                                                                                                               App.12
Case 4:24-cv-00950-O             Document 7             Filed 10/14/24        Page 15 of 25           PageID 74




             in this action, including, but not limited to, the non-parties listed below, to the extent

             necessary for the admission of documents or deposition or investigational hearing

             testimony into evidence in the event that a stipulation cannot be reached concerning the

             admissibility of such documents or testimony; and

        F. For any individual listed below as being associated with a corporation or other non-party

             entity, to substitute a witness designated by the associated non-party entity in response to

             any subpoena that has been or may be issued by Complaint Counsel or Respondents to

             that non-party entity in this action.

                 Subject to these reservations ofrights, Complaint Counsel's preliminary list of

    witnesses is as follows:

        I.       Current and Former Employees of Respondents

             1. Ali B. Benli, General Manager, David McDavid Ford Ft. Worth and former

    General Manager of David McDavid Honda Irving and David McDavid Honda Frisco

                We expect Ali Benli will testify about (i) his role and responsibilities,

    (ii) Respondents' policies and practices related to the sale of add-ons, fair lending, and

    compliance, (iii) consumer complaints he received or reviewed, (iv) deals and audits he

    reviewed, and (v) Respondents' response to consumer complaints, audit findings, and incidents

    of deceptive and unfair practices in connection with the sale of add-ons.

             2. Steve Mansell, Former General Manager of David McDavid Ford Ft. Worth

                We expect Steve Mansell will testify about (i) his role and responsibilities,

    (ii) Respondents' policies and practices related to the sale of add-ons, fair lending, and



                                                     Page 3 of 13




                                                                                                            App.13
Case 4:24-cv-00950-O           Document 7          Filed 10/14/24          Page 16 of 25           PageID 75




     compliance, (iii) consumer complaints he received or reviewed, (iv) deals and audits he

     reviewed, and (v) Respondents' response to consumer complaints, audit findings, and incidents

     of deceptive and unfair practices in connection with the sale of add-ons.

             3. Sonia Heredia, Former General Manager of David McDavid Honda of Frisco

                We expect Sonia Heredia will testify about (i) Respondents' policies and practices

     related to the sale of add-ons, fair lending, and compliance (ii) consumer complaints she received

     or reviewed, (iii) deals and audits she reviewed, and (iv) Respondents' response to consumer

     complaints, audit findings, and incidents of deceptive and unfair practices in connection with the

     sale of add-ons.

            4. Apollo Chang, General Manager of David McDavid Honda of Irving

                We expect Apollo Chang will testify about (i) Respondents' policies and practices

     related to the sale of add-ons, fair lending, and compliance, (ii) consumer complaints he received

     or reviewed, (iii) deals and audits he reviewed, and (iv) Respondents' response to consumer

     complaints, audit findings, and incidents of deceptive and unfair practices in connection with the

     sale of add-ons.

        5. David Hult, President & Chief Executive Officer, Asbury Automotive Group

                We expect David Hult will testify about (i) the corporate structure and business

    functions of Asbury Automotive Group, Inc. and its subsidiaries, including David McDavid Ford

    Ft. Worth, David McDavid Honda of Frisco, David McDavid Honda of Irving ("McDavid Group

    Dealerships"), (ii) policies and practices related to add-on sales, fair lending, and compliance,

    (iii) consumer complaints, audits, investigations, and findings of misconduct related to the sale of



                                               Page 4 of 13




                                                                                                          App.14
Case 4:24-cv-00950-O             Document 7           Filed 10/14/24            Page 17 of 25        PageID 76




     add-ons, and Respondents' responses thereto, and (iv) the role and responsibilities of Ali Benli

     and other witnesses.

         6. Daniel Clara, Senior Vice President, Operations, Asbury Automotive Group, Inc.

             We expect Daniel Clara will testify about (i) the corporate structure of Asbury

     Automotive Group, Inc. and its subsidiaries, including Asbury Automotive Group, LLC, Asbury

     Management Services, LLC, Asbury Risk Services, LLC, and the McDavid Group Dealerships,

     (ii) Respondents' policies and practices related to the sale of add-ons and fair lending, and

     (iii) audits, investigations, consumer complaints, and findings of misconduct related to the

     McDavid Group Dealerships.

         7. Kelly Baker, Vice President, Chief Audit & Risk Executive, Asbury Automotive

             Group

                 We expect Kelly Baker will testify about (i) Respondents' policies and practices

     related to compliance, including the process for conducting audits, (ii) policies and practices

     related to add-on sales, (iii) policies and practices related to fair lending, (iv) audits,

     investigations, and findings of misconduct related to the McDavid Group Dealerships and

    Respondents' responses thereto.

        8. Scott Grogan, Director of Compliance and Internal Audit, Asbury Automotive

            Group

            We expect Scott Grogan will testify about (i) Respondents' policies and practices related

    to compliance, including the process for conducting audits, and (ii) audits and investigations of

    the McDavid Group Dealerships and Respondents' responses thereto.



                                                  Page 5 of 13




                                                                                                        App.15
Case 4:24-cv-00950-O           Document 7           Filed 10/14/24          Page 18 of 25           PageID 77




         9. Barbara Jessup, Chief Audit and Risk Executive

                We expect Barbara Jessup will testify about (i) Respondents' policies and practices

     related to compliance, including the process for conducting audits, and (ii) audits, investigations,

     and findings of misconduct at the McDavid Group Dealerships and Respondents' responses

     thereto.

         10. Ivan Cerna-Villalobos, Internal Auditor, Asbury Automotive Group

                We expect Ivan Cerna-Villalobos will testify about (i) Respondents' policies and

     practices related to add-on sales, fair lending, and compliance, including the process for

     conducting audits, and (ii) audits, investigations, and findings of misconduct at of the McDavid

     Group Dealerships and Respondents' responses thereto.

        11. Paris Ramirez, National F&I Director, David McDavid Operations

            We expect Paris Ramirez will testify about (i) Respondents' policies and practices related

     to the sale of add-ons, fair lending, and compliance; (ii) Respondents' lending partners, and

     (iii) audits, investigations, consumer complaints, and findings of misconduct related to the

     McDavid Group Dealerships.

        12. Tiger Lester, Regional F&I Director, Asbury Automotive Group

            We expect Tiger Lester will testify about (i) Respondents' policies and practices related

    to the sale of add-ons, fair lending, and compliance, and (ii) audits, investigations, consumer

    complaints, and findings of misconduct related to the McDavid Group Dealerships.

        13. Chadrick S. McClellon, F&I Director, David McDavid Ford Ft. Worth

            We expect that Chadrick McClellon will testify concerning (i) Respondents' policies and



                                                Page 6 of 13




                                                                                                            App.16
Case 4:24-cv-00950-O          Document 7          Filed 10/14/24          Page 19 of 25             PageID 78




       practices related to the sale of add-ons, (ii) his own experience managing the sale of add-ons,

       (iii) the documents and platforms used by F&I managers, (iv) consumer complaints, and

       (v) Respondents' response to consumer complaints, audit findings, and incidents of deceptive

       and unfair practices in connection with the sale of add-ons.

       14. One or more current or former F&I Managers of David McDavid Ford Ft. Worth;

           individual(s) to be identified

               We expect that a current or former F&I manager of David McDavid Ford Ft. Worth

       will testify concerning (i) Respondents' policies and practices related to the sale of add-ons,

       (ii) his or her own experience selling add-ons, (iii) the documents and platforms used by F&I

       mangers, (iv) consumer complaints, and (v) Respondents' response to consumer complaints,

       audit findings, and incidents of deceptive and unfair practices in connection with the sale of

       add-ons.

       15. One or more current or former F &I Managers or Directors of David McDavid

           Honda of Frisco; individual(s) to be identified

              We expect that a current or former F&I Manager or Director of David McDavid

       Honda of Frisco will testify concerning (i) Respondents' policies and practices related to the

       sale of add-ons, (ii) his or her own experience selling or overseeing the sale of add-ons,

       (iii) the documents and platforms used by F&I mangers, (iv) consumer complaints, and

       (v) Respondents' response to consumer complaints, audit findings, and incidents of deceptive

       and unfair practices in connection with the sale of add-ons.




                                              Page 7 of 13




                                                                                                         App.17
Case 4:24-cv-00950-O            Document 7          Filed 10/14/24            Page 20 of 25           PageID 79




         16. One or more current or former F&I Managers or Directors of David McDavid

             Honda of Irving; individual(s) to be identified

                We expect that a current or former F&I Manager or Director of David McDavid

         Honda oflrving will testify concerning (i) Respondents' policies and practices related to the

         sale of add-ons, (ii) his or her own experience selling or overseeing the sale of add-ons,

         (iii) the documents and platforms used by F&I mangers, (iv) consumer complaints, and

         (v) Respondents' response to consumer complaints, audit findings, and incidents of deceptive

         and unfair practices in connection with the sale of add-ons.

         17. Gerald N. Rollinson, Sales Manager, David McDavid Ford Ft. Worth

            We expect that Gerald Rollinson will testify concerning (i) his experience managing sales

     advisors, (ii) Respondents' policies and practices related to the sale, leasing, and financing of

     motor vehicles and add-ons, including policies and practices related to quoting prices and

     payments, (iii) the documents and platforms used by sales advisors, (iv) consumer complaints,

     and (v) Respondents' response to consumer complaints, audit findings, and incidents of

     deceptive and unfair practices in connection with the sale of add-ons.

        18. Brian M. Bertschy, Sales Manager, David McDavid Ford Ft. Worth

                We expect that Brian Bertschy will testify concerning (i) his experience managing

    sales advisors, (ii) Respondents' policies and practices related to the sale, leasing, and financing

    of motor vehicles and add-ons, including policies and practices related to quoting prices and

    payments, (iii) the documents and platforms used by sales advisors, (iv) consumer complaints,

    and (v) Respondents' response to consumer complaints, audit findings, and incidents of



                                                Page 8 of 13




                                                                                                           App.18
Case 4:24-cv-00950-O           Document 7           Filed 10/14/24            Page 21 of 25        PageID 80




     deceptive and unfair practices in connection with the sale of add-ons.

         19. One or more current or former Sales Managers or Advisors of David McDavid

            Honda of Irving; individual(s) to be identified

                We expect that a current or former Sales Manager or Advisor of David McDavid

     Honda of Irving will testify concerning (i) his or her experience selling or managing the sale of

     motor vehicles and add-ons, (ii) Respondents' policies and practices related to the sale, leasing,

     and financing of motor vehicles and add-ons, including policies and practices related to quoting

     prices and payments, (iii) the documents and platforms used by sales advisors, (iv) consumer

     complaints, and (v) Respondents' response to consumer complaints, audit findings, and incidents

     of deceptive and unfair practices in connection with the sale of add-ons.

        20. One or more current or former Sales Managers of David McDavid Honda of Frisco;

            individual(s) to be identified

                We expect that a current or former Sales Manager or Advisor of David McDavid

     Honda of Frisco will testify concerning (i) his or her experience selling or managing the sale of

    motor vehicles and add-ons, (ii) Respondents' policies and practices related to the sale, leasing,

    and financing of motor vehicles and add-ons, including policies and practices related to quoting

    prices and payments, (iii) the documents and platforms used by sales advisors, (iv) consumer

    complaints, and (v) Respondents' response to consumer complaints, audit findings, and incidents

    of deceptive and unfair practices in connection with the sale of add-ons.




                                                Page 9 of 13




                                                                                                          App.19
Case 4:24-cv-00950-O           Document 7          Filed 10/14/24          Page 22 of 25          PageID 81




         II.    Related Entities

         21. Asbury Automotive Group, LLC Representative; individual to be identified.

                We anticipate that a representative from Asbury Automotive Group, LLC may testify

     regarding (i) the corporate structure and business functions of Asbury Automotive Group, Inc.

     and its subsidiaries, and (ii) the authenticity of any documents produced by Respondents and the

     manner in which any such document was stored and maintained in Respondents' files.

        22. Asbury Management Services, LLC Representative; individual to be identified.

                We anticipate that a representative from Asbury Management Services, LLC may

     testify regarding (i) the corporate structure and business functions of Asbury Automotive Group,

     Inc. and its subsidiaries, (ii) the hiring, termination, payment, and employment status of

     employees at the McDavid Group Dealerships, and (iii) the authenticity of any documents

     produced by Respondents and the manner in which any such document was stored and

     maintained in Respondents' files.

        III.    Business Partners and Third Parties

        23. Cal-Tex Protective Coatings, Inc. Representative; individual to be identified.

                We anticipate that a representative from Cal-Tex Protective Coatings, Inc. may testify

        about the sale of add-on products, including ResistAll, at the McDavid Group Dealerships.

        24. American Honda Finance Corporation Representative; individual to be identified.

                We anticipate that a representative from American Honda Finance Corporation may

        testify about the sale of add-on products at the McDavid Group Dealerships.




                                               Page 10 of 13




                                                                                                        App.20
Case 4:24-cv-00950-O               Document 7       Filed 10/14/24         Page 23 of 25         PageID 82




         25. Jim Moran & Associates, Inc. Representative; individual to be identified.

                   We anticipate that a representative from Jim Moran & Associates, Inc. may testify

     about the sale of add-on products at the McDavid Group Dealerships.

         IV.       Consumers

         26. Consumers who purchased vehicles at David McDavid Ford Ft. Worth; individuals

               to be identified.

                   We expect one or more consumers will testify about their experience purchasing a

     motor vehicle and being charged for add-ons at David McDavid Ford Ft. Worth. Complaint

     Counsel note that fact discovery is ongoing and counsel is still identifying additional harmed

     consumers as well as awaiting Respondents' production of documents concerning the consumers

     Complaint Counsel have already identified to Respondents. This discovery will inform

     Complaint Counsel's decision of which consumers to call as witnesses.

        27. Consumers who purchased vehicles at David McDavid Honda of Frisco; individuals

               to be identified.

                  We expect one or more consumers will testify about their experience purchasing a

    motor vehicle and being charged for add-ons at David McDavid Honda of Frisco.

        28. Consumers who purchased vehicles at David McDavid Honda of Irving; individuals

            to be identified.

                  We expect one or more consumers will testify about their experience purchasing a

    motor vehicle and being charged for add-ons at David McDavid Honda of Irving.




                                                Page 11 of 13




                                                                                                       App.21
Case 4:24-cv-00950-O            Document 7   Filed 10/14/24       Page 24 of 25    PageID 83




      Dated: October 11, 2024                    Isl Jamie D. Brooks
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                                                Counsel Supporting the Complaint




                                         Page 12 of 13




                                                                                      App.22
Case 4:24-cv-00950-O          Document 7           Filed 10/14/24          Page 25 of 25         PageID 84




                                     CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the foregoing was served on all counsel of

     record by email on October 11, 2024.

                                                      Isl Jamie D. Brooks
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                                              Page 13 of 13




                                                                                                          App.23
